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                EXHIBIT B
                 Excerpt
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20                             UNITED STATES DISTRICT COURT
21                           NORTHERN DISTRICT OF CALIFORNIA
22
     DANTE DEMARTINI, et al.,                          Case No. 22-cv-08991-JSC
23
           Plaintiffs,                                 MICROSOFT CORPORATION’S
24                                                     RESPONSES TO PLAINTIFFS’
                   v.                                  REQUESTS FOR ADMISSION
25
     MICROSOFT CORPORATION,                            Hon. Jacqueline Scott Corley
26
           Defendant.
27

28


                                                   MICROSOFT’S RESPONSES TO REQUESTS FOR ADMISSION
                                                                                Case No. 3:22-cv-08991
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 1   Video Game titles,” which refers to unspecific and unknown titles without any time limitation. It is
 2   unclear whether this request refers to all future Bethesda titles.
 3          Subject to the foregoing objections, Microsoft responds: Deny.          Microsoft expects that
 4   decisions will be made on a title-by-title basis.
 5   REQUEST NO. 6:
 6          Admit that You and Activision Blizzard compete in the development, publishing, and sale of
 7   video games.
 8   RESPONSE TO REQUEST NO. 6:
 9          Microsoft objects to this request as seeking information that is not relevant to any claim or
10   defense, because Plaintiffs horizontal theory was dismissed. Microsoft further objects to this request
11   as vague and ambiguous as to the term “compete,” and as calling for a legal conclusion and/or
12   subjective opinion.
13   REQUEST NO. 7:
14          Admit that You and Activision Blizzard compete in the development, publishing, and sale of
15   Triple-A (“AAA”) video games.
16   RESPONSE TO REQUEST NO. 7:
17            Microsoft objects to this request as seeking information that is not relevant to any claim or
18   defense, because Plaintiffs horizontal theory was dismissed. Microsoft further objects to this request
19   as vague and ambiguous as to the terms “compete” and “Triple-A (‘AAA’) video games,” and as
20   calling for a legal conclusion and/or subjective opinion.
21   REQUEST NO. 8:
22          Admit that Video Game content is a critical input for Your Video Game Platforms, including
23   Your Cloud Gaming Services.
24   RESPONSE TO REQUEST NO. 8:
25          Microsoft objects to this request as vague and ambiguous with respect to the undefined
26   phrases “Video Game content” and “critical input.” Microsoft further objects to the extent that this
27   request calls for a legal conclusion.
28          Subject to these objections, Microsoft denies that any particular video game is a “critical
                                                          4
                                                         MICROSOFT’S RESPONSES TO REQUESTS FOR ADMISSION
                                                                                      Case No. 3:22-cv-08991
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 1   DATED: July 13, 2023            ALSTON & BIRD LLP
 2
                                     /s/ Valarie C. Williams
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                                           MICROSOFT’S RESPONSES TO REQUESTS FOR ADMISSION
                                                                        Case No. 3:22-cv-08991
